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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
           v.                     ) Criminal Action No. 1:23-cr-00061-MN
                                  )
ROBERT HUNTER BIDEN,              )
                                  )
           Defendant.             )
                                  )
____________________________________)


                   MR. BIDEN’S PROPOSED VERDICT FORM




      Abbe David Lowell                    Bartholomew J. Dalton (#808)
      Christopher D. Man                   DALTON & ASSOCIATES, P.A.
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                            Counsel for Robert Hunter Biden
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       Mr. Biden opposes the Special Counsel’s proposed verdict form because its streamlined

description of the charges makes them appear to be broad strict liability offenses, which is

inaccurate and deeply prejudicial.


Dated: May 28, 2024                        Respectfully submitted,

                                           /s/ Abbe David Lowell
Bartholomew J. Dalton (#808)               Abbe David Lowell
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                      Counsel for Robert Hunter Biden
Case 1:23-cr-00061-MN Document 187 Filed 05/28/24 Page 3 of 4 PageID #: 2956




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
           v.                     ) Criminal Action No. 1:23-cr-00061-MN
                                  )
ROBERT HUNTER BIDEN,              )
                                  )
           Defendant.             )
                                  )
____________________________________)

                                    JURY VERDICT FORM

       1. As to Count One, charging the defendant with knowingly making a false statement

material to the lawfulness of the sale of a firearm, we the jury find the defendant:

                 ________ Not Guilty ________ Guilty

       2. As to Count Two, charging the defendant with knowingly making a false statement with

respect to information required to be kept in records of a federal firearms licensee, we the jury find

the defendant:

                 ________ Not Guilty ________ Guilty

       3. As to Count Three, charging the defendant with knowingly possessing a firearm while

knowingly being an unlawful user of or addicted to a controlled substance, we the jury find the

defendant:

                 ________ Not Guilty ________ Guilty



                 The foregoing constitutes the unanimous verdict of the jury.



       _________________                              ___________________
       PRESIDING JUROR                                DATE
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of May, 2024, I filed the foregoing proposed jury

verdict form to the Motion to Exclude Proposed Defense Experts with the Clerk of Court using the

CM/ECF system, which will send a notification of such filing to all counsel of record.


                                                   /s/ Abbe David Lowell
                                                   Abbe David Lowell

                                                   Counsel for Robert Hunter Biden
